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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DR. CANDICE BALDWIN                                 :              CIVIL ACTION
                                                    :
         Plaintiff,                                 :
                                                    :
                      v.                            :
                                                    :
MILLERSVILLE UNIVERSITY,                            :
                                                    :
         Defendant.                                 :              NO. 18-3257

                           DEFENDANT MILLERSVILLE UNIVERSITY’S
                                ANSWER TO THE COMPLAINT

       Defendant Millerville University, by the undersigned counsel, hereby answers Plaintiff’s

Complaint as follows:

                                          THE PARTIES

       1.      This is an incorporation paragraph, to which no response is required.

       2.      Admitted.

       3.      Defendant lacks sufficient knowledge and information to form a belief as to the

truth of these allegations; they are thus denied.

       4.      Admitted.

       5.      Admitted.

       6.      These allegations constitute conclusions of law to which no response is required.

                                 JURISDICTION AND VENUE

       7.      This is an incorporation paragraph, to which no response is required.

       8.      These allegations constitute conclusions of law to which no response is required.

       9.      These allegations constitute conclusions of law to which no response is required.

       10.     These allegations constitute conclusions of law to which no response is required.
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       11.     These allegations constitute conclusions of law to which no response is required.

                    EXHAUSTION OF ADMINISTRATIVE REMEDIES

       12.     This is an incorporation paragraph, to which no response is required.

       13.     These allegations constitute conclusions of law to which no response is required.

       14.     Admitted.

       15.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth of these allegations; they are thus denied.

       16.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth of these allegations; they are thus denied.

       17.     Defendant lacks sufficient knowledge and information to form a belief as to the

truth of these allegations; they are thus denied.

                                     FACTUAL SUMMARY

       18.     This is an incorporation paragraph, to which no response is required.

       19.     Admitted.

       20.     Admitted.

       21.     Denied.

       22.     Denied as written. Admitted that Plaintiff’s position as Assistant Vice President

for Student Success and Retention was contingent on successful completion of a probationary

period. The remaining allegations are denied as written.

       23.     Admitted.

       24.     Denied.

       25.     Denied.

       26.     Denied.
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       27.     Denied.

       28.     Denied.

       29.     Denied.

       30.     Denied.

       31.     Denied.

       32.     Denied.

       33.     Denied as written. Admitted that Plaintiff met with Defendant’s Human

Resources Department on or around November 2, 2016. The remaining allegations are denied as

written.

       34.     Denied as written. Admitted that, on or around November 8, 2016, Defendant

extended Plaintiff’s probationary period due to performance concerns. The remaining allegations

are denied as written.

       35.     Denied.

       36.     Denied as written. Admitted that Defendant scheduled a meeting between Plaintif

and her Supervisor. The remaining allegations are denied as written.

       37.     Denied as written. Admitted that Defendant was informed that she was being

placed on Administrative Leave with full pay and benefits while further investigation was done

with regards to the plagiarism. The remaining allegations are denied as written.

       38.     Admitted.

       39.     Denied.

       40.     Admitted.

       41.     Denied.
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                      COUNT I – RETALIATION
      TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED

42.     This is an incorporation paragraph, to which no response is required.

43.     These allegations constitute conclusions of law to which on response is required.

44.     These allegations constitute conclusions of law to which on response is required.

45.     These allegations constitute conclusions of law to which on response is required.

46.     These allegations constitute conclusions of law to which on response is required.

                     COUNT II – RETALIATION
             THE PENNSYLVANIA HUMAN RELATIONS ACT

47.     This is an incorporation paragraph, to which no response is required.

48.     These allegations constitute conclusions of law to which on response is required.

49.     These allegations constitute conclusions of law to which on response is required.

50.     These allegations constitute conclusions of law to which on response is required.

51.     These allegations constitute conclusions of law to which on response is required.

 COUNT III – RACE DISCRIMINATION – DISPARATE TREATMENT
  TITLE VII OF THE CIVIL RIGHTS ACT OF 11964, AS AMENDED

52.     This is an incorporation paragraph, to which no response is required.

53.     These allegations constitute conclusions of law to which on response is required.

54.     These allegations constitute conclusions of law to which on response is required.

55.     These allegations constitute conclusions of law to which on response is required.

56.     These allegations constitute conclusions of law to which on response is required.

57.     These allegations constitute conclusions of law to which on response is required.

58.     These allegations constitute conclusions of law to which on response is required.

59.     These allegations constitute conclusions of law to which on response is required.
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           COUNT IV – RACE DISCRIMINATION – DISPARATE TREATMENT
                  THE PENNSYLVANIA HUMAN RELATIONS ACT

      60.     This is an incorporation paragraph, to which no response is required.

      61.     These allegations constitute conclusions of law to which on response is required.

      62.     These allegations constitute conclusions of law to which on response is required.

    COUNT V – RACE DISCRIMINATION – HOSTILE WORK ENVIRONMENT
       TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED

      63.     This is an incorporation paragraph, to which no response is required.

      64.     These allegations constitute conclusions of law to which on response is required.

    COUNT VI – RACE DISCRIMINATION – HOSTILE WORK ENVIRONMENT
               THE PENNSYLVANIA HUMAN RELATIONS ACT

      65.     This is an incorporation paragraph, to which no response is required.

      66.     These allegations constitute conclusions of law to which on response is required.

                                        COUNT VII
                                       42 U.S.C § 1981

      67.     This is an incorporation paragraph, to which no response is required.

      68.     These allegations constitute conclusions of law to which on response is required.

      69.     These allegations constitute conclusions of law to which on response is required.

      70.     These allegations constitute conclusions of law to which on response is required.

      71.     These allegations constitute conclusions of law to which on response is required.

                                AFFIRMATIVE DEFENSES

      1.      Any claim against Defendant under 42 U.S.C. § 1981 is barred by Eleventh

Amendment Immunity.

      2.      42 U.S.C. § 1981 does not create a private cause of action


                                                   JOSH SHAPIRO
                                                   ATTORNEY GENERAL
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                                    BY:   /s/ Kathy A. Le
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                                          Chief, Civil Litigation Section

                                          Counsel for Defendant
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DR. CANDICE BALDWIN                               :                  CIVIL ACTION
                                                  :
         Plaintiff,                               :
                                                  :
                      v.                          :
                                                  :
MILLERSVILLE UNIVERSITY,                          :
                                                  :
         Defendant.                               :                  NO. 18-3257

                                 CERTIFICATE OF SERVICE

       I, Kathy A. Le, hereby certify that on October 2, 2018, Defendant Millersville

University’s Answer to the Complaint has been filed electronically and is available for viewing

and downloading from the Court’s Electronic Case Filing System (“ECF”). The ECF System’s

electronic service of the Notice of Electronic Case Filing constitutes service on all parties who

have consented to electronic service.



                                                      BY:    /s/ Kathy A. Le
                                                             KATHY A. LE
                                                             Deputy Attorney General
